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                           Exhibit
                                     2
Case 2:22-cv-02186-AB-PLA Document 1-2 Filed 04/01/22 Page 2 of 5 Page ID #:13
3/11/2021         ARRAY on Twitter: ""In order to rise Document
            Case 2:22-cv-02186-AB-PLA                  From its own ashes
                                                                      1-2A phoenix
                                                                            FiledFirst Must Burn" Octavia
                                                                                   04/01/22       Page Butler
                                                                                                          3 ofhttps://t.co/thskLmHLQi"
                                                                                                               5 Page ID #:14/ Twitter
                                                                                                                           Search Twitter




                                                             4                         19


                                                                                                                                                                         The Grand Cultural Influence
                                                                                                                                                                         of Octavia Butler
                                                                                                                                                                            lithub.com

                                                                                                                                                                           3           66      203


                                                                                                                                                                   ARRAY       @… · Jun 22, 2019
                                                                                                                                                                   “All that you touch, You Change.
                                                                                                                                                                   All that you Change, Changes You.
                                                                                                                                                                   The only lasting truth is Change"
                                                                                                                                                                   Octavia Butler.




                                      ARRAY       @ARRAYNow · Jun 22, 2019
                                      “All that you touch, You Change. All that you Change, Changes You. The only                                                          1           11       19
                                      lasting truth is Change" Octavia Butler.
                                                                                                                                                                   ARRAY      @… · Jun 22, 2019
                                                                                                                                                                   "Choose your leaders with wisdom
                                                                                                                                                                   and forethought. To be led by a
                                                                                                                                                                   coward is to be controlled by all
                                                                                                                                                                   that the coward fears" Octavia
                                                                                                                                                                   Butler




                                                                                                                                                                           1           7        14

                                           1                     11               19
                                                                                                                                                                   ARRAY       @… · Jun 22, 2019
                                      ARRAY       @ARRAYNow · Jun 22, 2019                                                                                         Beware:
                                      "Choose your leaders with wisdom and forethought. To be led by a coward                                                      Ignorance
                                      is to be controlled by all that the coward fears" Octavia Butler                                                             Protects itself.
                                                                                                                                                                   Ignorance
                                                                                                                                                                   Promotes suspicion.
                                                                                                                                                                   Suspicion
                                                                                                                                                                   Engenders fear.
                                                                                                                                                                   Fear quails,
                                                                                                                                                                   Irrational and blind,
                                                                                                                                                                   Or fear looms,
                                                                                                                                                                   Defiant and closed.
                                                                                                                                                                   Blind, closed,
                                                                                                                                                                   Suspicious, afraid,
                                                                                                                                                                   Ignorance
                                                                                                                                                                   Protects itself,
                                                                                                                                                                   And protected,
                                                                                                                                                                   Ignorance grows.

                                                                                                                                                                   Octavia Butler
                                           1                     7                14


                                      ARRAY       @ARRAYNow · Jun 22, 2019                                          New to Twitter?
                                      Beware:
                                      Ignorance                                                                     Sign up now to get your own personalized timeline!
                                      Protects itself.
                                      Ignorance                                                                                           Sign up
                                      Promotes suspicion.                                                                                                                  1           11       26
                                      Suspicion
                                      Engenders fear.
                                      Fear quails,
                                                                                                                    Relevant people                                ARRAY
                                      Irrational and blind,
                                                                                                                                                                   @ARRAYNow
                                      Or fear looms,
                                      Defiant and closed.                                                                     ARRAY
                                                                                                                                                              Follow
                                                                                                                                                         Replying to @ARRAYNow
                                      Blind, closed,                                                                          @ARRAYNow
                                      Suspicious, afraid,                                                                     Change is ours to create. We produce,
                                      Ignorance                                                                                                         "InBlack
                                                                                                                              amplify, distribute work by    order to rise From its
                                      Protects itself,                                                                                                  own
                                                                                                                              artists, filmmakers of color and ashes A phoenix First
                                      And protected,                                                                          women of all kinds. Founded by @Ava
                                      Ignorance grows.                                                                        . 10 years strong.        Must Burn" Octavia Butler
                                      Octavia Butler                                                                                                     7:37 PM · Jun 22, 2019 · Twitter Web App

                                      Thread                                                                        Trends for you
                                                                                                                                                           4 Retweets       19 Likes
                                                                                                                    Trending in Germany
                                                                                                                    #Covidioten
                                                                                                                    4,602 Tweets

                            Don’t miss what’s happening                                                             Trending in Germany           Log in         Sign up
                            People on Twitter are the first to know.
                                                                                                                    #Bohlen

https://twitter.com/ARRAYNow/status/1142486703329779712/photo/3                                                                                                                                         1/2
3/11/2021         ARRAY on Twitter: ""In order to rise Document
            Case 2:22-cv-02186-AB-PLA                  From its own ashes
                                                                      1-2A phoenix
                                                                            FiledFirst Must Burn" Octavia
                                                                                   04/01/22       Page Butler
                                                                                                          4 ofhttps://t.co/thskLmHLQi"
                                                                                                               5 Page ID #:15/ Twitter
                                                                                      1,499 Tweets
                                                                                            Search Twitter
                                                                                      Trending in Germany
                                                                                      Sturm
                                                                                      4,259 Tweets

                                           1                     11     26
                                                                                      Trending in Germany
                                                             4               19       #CDUKorruption
                                      ARRAY                                           2,710 Tweets
                                      @ARRAYNow
                                                                                      Trending in Germany
                             Replying to @ARRAYNow                                    #Atomausstieg

                             "In order to rise From its own ashes A phoenix First     Show more
                             Must Burn" Octavia Butler
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                              4 Retweets    19 Likes




                            Don’t miss what’s happening                                                            Log in         Sign up
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